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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                               CASE NO. 2:08-cr-00541-MCE-GGH
12                                 Plaintiff,                ORDER
13
            v.
14

15   MICHAEL LAMB, and
     STEVEN TOGNOTTI,
16
                                   Defendant.
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20
                                                    ORDER
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            This matter came before the Court on the United States’ request to correct the judgment as to
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     the defendants in this case (Docs. 81 and 86) to clarify that, to the extent the defendants owe
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     restitution debts to the same victims, the restitution orders are joint and several as to the defendants
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     in this case. This Order does not change the amount of any defendant’s restitution or otherwise
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             Case 2:08-cr-00541-MCE Document 105 Filed 06/21/23 Page 2 of 2



 1 modify the judgments or restitution ordered in this case as to any defendant.

 2          IT IS SO ORDERED.

 3 Dated: June 20, 2023

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